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Glen Meyers



                   UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF CALIFORNIA


                                       2:13‐cr‐00330‐KJM
UNITED STATES OF AMERICA,

            Plaintiff,                 ORDER
      v.

GLEN MEYERS,

            Defendant.



GOOD CAUSE APPEARING the Court orders the court reporter to
produce the sealed transcript of the sentencing hearing which occurred on
April 22, 2015, and to provide a copy to attorney Krista Hart, but that the
transcripts otherwise remain sealed unless or until Mr. Meyers decides to
introduce the issues into the Ninth Circuit appeal.
DATED: June 29, 2015



                                       UNITED STATES DISTRICT JUDGE
